	

    r'             Case 2:14-cv-01263-WKW-WC Document 1 Filed 12/31/14 Page 1 of 4



                                     N THE USISTRICLCOUftT FOR	                                   ....
                                        THE MIDDLE Drs'nktbi OF ALABAMA	                     I
                                             71
                                                  Or-C' 3 1	   P12:50	               .'..'
                                            DEBRA p
          WESLEY P,cRANP	                                           CLh
         Full name and prison
         plaintiff(s)	                                                          .

                               V.	                             )	     CIVIL ACTION NO.
              -	                                               )	     (To be supplied by the Clerk of the
          ALABAMA D .00. ET AT	                                )	      U.S.District Court)
                                                               )

                                                               )


          WARDEN THOMAS	                                       )
         Name of person(s) who violated 	      )
         your constitutional rights.) 	                                   -
         (List the names of all the persons) )


              -
         1. PREVIOUS LAWSUITS

                   A	     Have you begun other lawsuits in state or federal court dealing with the same or
                          similar facts involved in this actjon7	 Yes ( ) No (* )

                          Have you begun other lawsuits in state or federal court 	
                   B	
                          impnsonment7	Yes ( ) No *                       4	                     - Iting
                                                                                                    - -to your
                   C. If your answer to A or B is yes, describe each lasit inthe ace below. (If there.
                           is more than one lawsuit, describe the additional lawsuits on another piece of
                           paper, using the same outline).

                          1	         Parties to this previous lawsuit
                                     Plaintiff(s)	             Nfl)J1?	                          --

                                     Defendant(s)


                          2	         Court (if federal court, name the district; if state court, name the county)



                          3.         DocketNo.	      NflNE	                                                 -

                          4.         Name of Judge to whom case was assigned
	
	




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	• 	                                             Disposition (for example: Was hecaediinFsed? . WaitàpeaIed?. ,s
                                                 it stjU pending?	               -	   -	            --
                                                         NON1

                                                 Approximate date of fling lawsuit,	                   NONE

                                   7..	          Approximate date of disposition 	                      NONE..-.

             II.	   PLACE OF PRESENT CONFINEMENT DECATURWORKRELEASE


                     PLACE OR INSTITUTION WHERE INCIDENT OCCURRED
                              FRANK T.F.F. WORK CP.NTVP



	Ill.	              NAME ANDADDRESS OF INDIVIDUAL(S) YOU ALLEGE VIOLATED YOUR
                    CONSTITUTIONAL RIGHTS.

                                                        NAME.	                                    ADDRESS

                    • 1:                  WARDEN                         THOMAS..

                    2.                    LT.GRAY	                                                                •

                    3.                    SRCT MCQUEEN	                                                  . .
                    4.                                                                            •	    .	 •.	    ..	 .

                    5.        .	            .	     -	       .	           .---	                         •L:

                    6.                                                     . -	       .••	   ,•

             IV	    THE DATE UPON WHICH SAID VIOLATION OCCURRED                                                  1)N_OR_A1nhrT
                     -. -JU1- 3420.14.	                                                                                     ..-.
             V	     STATE BRIEFLY THE GROUNDS ON WHICH YOU BASE YOUR ALLEGATIOffThAT
                    YOUR CONSTITUTIONAL RIGHTS ARE BEING VIOLATED:

                    GROUND ONE: REFUSSED_PROPERLY_MEDICAL_ATTENTION


                    STATE BRIEFLY THE PACTS WHICH SUPPORT ThUS GROUND. (State as best
                    you can the time, place, manner, and person involved).
                         I wacz            1F1-iT1g heygy mtgrialg
                                   ddw1ged iieek	                   •	            •
                         •	                                      irdn thnm	
                                                             rfiiced tose"d m g to-
                              fr gg doctor for badly needed medical attention.



                                                                                         -
	

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                     GROUND TWO: (PITFT. AND UUSEAUL PUNISHMENf'


                     SUPPORTING FACTS: WARDER THOMAS WOHT.flMfl.T SFY
                          PROFESSIONAL NEDICAL ATTENTION. 	                          .	                     ;.




                     GROUND THREE: SRG MCQU.FEN TALKED TO ME LIKE I wan
                      hiim	 being and dinrcgardcd me ahuman
                     SUPPORTING FACTS: The facts. are cl ea r that Invr
                          sot any mcdlc0l attention and n 	                 I   jj        t! d :Sul gel y


                      -   -on my neck a-bnd hype that I wduL                surfer the ret
            VI. 59 YB	                                  tT}OURT TO DO FOR YOU. MAKE
                     NO LEGAL ARGUMENT. CITE NO CASES OR STATUTES.	            -
                     The H rst thing I need- IS proper modical attcntion	        -

                            old aloe aisle the curt to              	       uuL	               I ws
             .	 .         treated ±tms than huaman. 	                   -

                                                                Signature of plaintiff (s)	                  -

    • .•	     . :I declare under penalty of perjury that the foregoing istrue and correct.

                    EXECUTED on 	                        .
                                             (date)
                                                                                I
                                                                SignaturepIaintiff(s)
                RANDY RICHBURG
                   WITNESS




               4
            RANDY RICHBURG




                                                         -3-
                                                                                                                                             I'
WESLEY P,SHANER                                       At. 3O	
A.I.S231149                                           .29 1)C '14	                                                                   ?ai    p'i
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                                            MIDDLE DISTRICT OF
                                         ALABAMA UNITED STATES

                                         COURT HOUSE P..O.BOX
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